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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DENA NATOUR FOR MINOR                        )
HADI ABUATELAH ,                             )
                                             )
               Plaintiffs,                   )       Case No. 22-cv-03998
                                             )
       v.                                    )       Hon. Steven C. Seeger
                                             )
CHIEF OF POLICE OAK LAWN POLICE)
DANIEL VITTORIO, OFFICER B.         )
COLLINS, OFFICER P. O’DONNELL       )
OFFICER M. HOLLINGSWORTH and        )
THE VILLAGE OF OAK LAWN             )
            Defendants.             )
____________________________________)

                   JOINT INITIAL STATUS REPORT UNDER RULE 26(f)

       The parties have conferred as required by Rule 26(f) and jointly submit the following

discovery plan. See Fed. R. Civ. P. 26(f)(2); Fed. R. Civ. P. 26(f)(3); Fed. R. Civ. P. 16(b). The

parties understand that the Court will enter a scheduling order under Rule 16(b)(1), and that the

Court will modify any such schedule “only for good cause.” See Fed. R. Civ. P. 16(b)(4).

I.     Nature of the Case

       A.      Attorneys of Record

               Attorneys for Plaintiff

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       B.      Basis for Federal Jurisdiction

       This action arises under the United States Constitution, the Civil Rights Act of 1871 (42

USC 1983), and the laws of the State of Illinois. This Court has jurisdiction over this action

pursuant to 28 U.S.C. 1331, 28 U.S.C. 1343 (a) (3), and 28 USC 1367. Venue is proper in the

District under 28 USC 1391 because all Defendants are domiciled in the Northern District. All the

events or omissions giving rise to the claim occurred in this District.




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       C.      Overview of the Case

       The cause of action arises out of the arrest of the juvenile Hadi Abuatelah. Plaintiff is

alleging excessive force. Defendants allege that a firearm was recovered from the juvenile and that

the force used was justified. Plaintiff alleges a systematic practice against Arab Americans by the

Oak Lawn Police Department. Defendants deny this allegation.

       D.      Claims asserted in Plaintiff’s complaint

Count I Claim for Excessive Force and Failure to Intervene

       Plaintiff alleges that Defendants Brandon Collins, Patrick O’Donnell, and M. Hollingsworth

used excessive force when said Defendants punched and tased the juvenile causing bodily harm.

Count II Racially Motivated Conspiracy to Deprive Plaintiff of his Constitutional Rights

       Plaintiff alleges that the Defendant officers conspired to and did deny the juvenile his

constitutional rights because he is an Arab America.

Count III Monell Policy Claim

       Plaintiff alleges the Village of Oak Lawn instituted de facto and customary policies to

sanction and encourage the arresting officers’ actions in this case. Additionally, Plaintiff alleges that

the Village of Oak Lawn failed to properly train, supervise, or discipline the Defendant Officers that

used excessive force against the juvenile.

Count IV State Law Claim for Intentional Infliction of Emotional Distress

       Plaintiff alleges the intentional beating of the juvenile was extreme and outrageous, and said

actions are the proximate cause of the emotional distress of the juvenile.

Count V State Law Battery

       Plaintiff alleges that the Defendant officers that arrested the juvenile without lawful

justification caused severe bodily harm to the juvenile.



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Count VI State Law Respondent Superior

       Plaintiff alleges that when the Defendant officers arrested the juvenile, they were employed

by the Defendant Village of Oak Lawn and acted within the scope of their employment.

Count VII Indemnity Claim against Defendant Village of Oak Lawn

       Plaintiff alleges Defendant Village of Oak Lawn was the employer of the Defendant

officers, and the alleged acts in this complaint were committed within the scope of their

employment.

       E.      What are the principal factual issues?

       This incident began with a traffic stop on July 27th, 2022. During the traffic stop, the

juvenile fled from Defendant Officer O’Donnell. The juvenile was detained at the end of the foot

pursuit by Defendant Officer Colling and Defendant Officer O’Donnell. Defendants allege that the

juvenile resisted detention. The officers applied force. Defendant Officer Hollingworth was the

third officer to help with the arrest of a juvenile. Defendant Officer Collins tased the juvenile. A

firearm was recovered from the juvenile. Plaintiff’s position is that the juvenile never reached for

the firearm, and the Defendants’ position is that the juvenile was reaching for the firearm.

Defendants’ further contend that the juvenile posed a threat to the safety of officers and others.

       F. Principal legal issues

        If the force used to arrest the juvenile excessive, or was it justified? Are Defendants entitled
to qualified immunity? Did the Oak Lawn Police Department institute de facto policies to help
encourage and cover up actions in this case?

       G.      Plaintiff Damages

       Plaintiff does not have the medical records, and bill the Plaintiff estimates the damages to be
around $1,000,000.00.

       H.      Service of the Defendant’s

       All the Defendants’ waived service and their responsive pleading are due 11/7/22.


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II.      Discovery

         A.     Propose a discovery schedule. Include the following deadlines: (1) the mandatory
                initial discovery responses; (2) any amendment to the pleadings to add new claims,
                or new parties; (3) service of process on any “John Doe” defendants; (4) the
                completion of fact discovery; (5) the disclosure of plaintiff’s expert report(s); (6) the
                deposition of plaintiff’s expert; (7) the disclosure of defendant’s expert(s); (8)
                the deposition of defendant’s expert; and (9) dispositive motions.

All Defendants intend to file a motion to stay the case, including discovery, based on a pending
criminal investigation of the incident by the Illinois State Police. Defendants request that the entry
of a discovery schedule be stayed until the after the investigation is complete. Plaintiff proposes the
following schedule.


 Event                                                  Deadline

 Amendment to the pleadings                             3.30.23

 Service of process on any “John Does”                  All Defendants waived service

 Completion of Fact Discovery                           5.7.23

 Disclosure of Plaintiff’s Expert Report(s)             6.7.23

 Deposition of Plaintiff’s Expert                       9.7.23

 Disclosure of Defendant’s Expert Report(s)             8.7.23

 Deposition of Defendant’s Expert                       11.7.23

 Dispositive Motions                                    12.7.23



         B.     How many depositions do the parties expect to take?

                 Plaintiff expects to take seven depositions. Defendants expect to depose any treating
         physicians disclosed by Plaintiff.

         C.     Do the parties foresee any special issues during discovery?

                Parties do not see any special issues during discovery.

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        D.      Rule 26(f)(2) requires the parties to propose a discovery plan. See Fed. R. Civ. P.
                26(f)(2). Rule 26(f)(3), in turn, provides that a “discovery plan must state the
                parties’ views and proposals” on six different topics. See Fed. R. Civ. P. 26(f)(3).
                Have the parties discussed a discovery plan – including all of the topics – as required
                by Rule 26(f)(3)? If so, do the parties propose anything?

                The parties have not discussed a discovery plan at this point.


III.    Trial

        A.      Have any of the parties demanded a jury trial?

        Plaintiff demanded a jury trial.

        B.      Estimate the length of trial.

        The parties estimate that the length of the trial will be two weeks.

IV.     Settlement, Referrals, and Consent

        A.      Have any settlement discussions taken place? If so, what is the status?
                Has the plaintiff made a written settlement demand? And if so, did the defendant
                respond in writing? (Do not provide any particulars of any demands or offers
                that have been made.)

        No settlement discussion has occurred, and Plaintiff has not made a settlement demand.

        B.      Do the parties request a settlement conference at this time before this Court
                or the Magistrate Judge?

        The parties do not request a settlement conference at this time.

        C.      Have counsel informed their respective clients about the possibility of
                proceeding before the assigned Magistrate Judge for all purposes, including trial and
                entry of final judgment? Do all parties unanimously consent to that procedure? The
                Court strongly encourages parties to consent to the jurisdiction of the Magistrate
                Judge.

       The parties have discussed the possibility of proceeding in front of a magistrate and none
consented to the said procedure.




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V.     Other

       A.      Is there anything else that the plaintiff(s) wants the Court to know? (Please
               be brief.)



       B.      Is there anything else that the defendant(s) wants the Court to know? (Please be
               brief.)

All Defendants intend to file a motion to stay the case, including discovery, based on a pending
criminal investigation by the Illinois State Police of the incident. Defendants request that the entry
of a discovery schedule be stayed until the after the investigation is complete. Defendants will file
the motion by the deadline to file responsive pleadings.


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